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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON


 KEVIN L. THIEL,

                Plaintiff,                            Case No. 1:19-cv-01006-MK

        vs.                                           ORDER FOR PAYMENT OF
                                                      ATTORNEY FEES PURSUANT TO
 COMMISSIONER,                                        EAJA
 Social Security Administration,

                Defendant.


       IT IS HEREBY ORDERED that attorney fees in the amount of $5,474.85 are awarded to

Plaintiff pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412 (“EAJA”). Payment of

this award shall be made via check payable to Plaintiff and mailed to Plaintiff’s attorneys at

HARDER, WELLS, BARON & MANNING, P.C., 474 Willamette Street, Eugene, Oregon

97401. Pursuant to Astrue v. Ratliff, the award shall be made payable to Plaintiff’s attorneys,

HARDER, WELLS, BARON & MANNING, P.C., if the Commissioner confirms that Plaintiff

owes no debt to the Government through the Federal Treasury Offset program. If Plaintiff has

such debt, the check for any remaining funds after offset shall be made out to Plaintiff and

mailed to counsel’s office at the address provided above. There are no costs or expenses to be

paid herein.

       Dated this 30th day of December 2020.

                                                             s/ Mustafa T. Kasubhai
                                                             MUSTAFA T. KASUBHAI
                                                             United States Magistrate Judge
